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         Sheetl
AO 2458 (Rev.09/08)JudgmentinaCriminalCase                                                  V.                       gt
                                         IJNITED STATESDISTRICT COURT                            p               KZ
                                               DISTRICT OF NEVADA                               1;               %O
                                                                                                %m    à           21
                                                                                                PV    =
UNITED STATESOFAMERICA                       JUDGMENT IN A CRIMINAL CASE                        E$:             q
        vS     .
                                                                                                Qy    pha       S
                                                                                                                x
GERARDO A.CRUZ.CASTRO                        CASE NUMBER:        3:08.cr.17.LRH(RAM )           Vî)   1         '
                                                                                                                %
                                             USMNUMBER: 41319-048                               s
                                                                                                gz
                                                                                                 %
                                                                                                   s slI
                                                                                                     Q %tQ
                                                                                                 '-
                                             C thiaHA                                       qo 1                := jj
                                                                                                                QJ
THE DEFENDANT:                               DEFENDANT'SATTORNEY                            Z                   S
                                                                                                                @;Oé
()  Pledguiltyto
( ) plednolocontenderetocountts)                              whichwasacceptedbythecomt.
(J) wasfound guilty on Counts1and2 oftheSupersedinzIndictmentafterapleaofnotguilty.
Thedefendantisadjudicated guiltyoftheseoffensets);
                                                                                D ate
Title & Section                   N atureofOffense                              Offense Ended               C ount

21U.S.C.841(a)(1),                Possession with Intentto Distribute a         M arcb 9,2008
(b)(1)(B)(i)and                   ControlledSubstance(Heroin)
18U .S.C.2                        Aiding and Abetting

21U.S.C.841(a)(1),                Possession with Intentto Distribute a         M arch 9,2008               2
(b)(1)(A)(iii)and                 Controlied Substance(CocaineBase)
 18 U.S.C.2                       A iding and Abetting

         Thedefendmltissentenced asprovided in pages2through 6 ofthisjudgment.Thesentenceisimposed
pursuantto the Sentencing Reform Actof1984.

( ) Thedefendanthasbeenfoundnotguiltyoncountls)
(V) TheIndictmentisdismissedonthemotionoftheUnited States.
        IT IS ORDERED thatthe defendantmustnotifytheUnited StatesAttorney forthisdistrid within 30 daysofany
 change ofnam e,residence,orm ailing addressuntila1lt'ines,restitution,costs,and specialassessm entsim posed by this
judgrnentarefullypaid.lforderedtopayrestitution,thedefendantmustnotifythecourtandUnited Statesattorney of
 m aterialchangesin econom ic circum stances.

                                                                  JUN .
                                                                      E 2.2009
                                                                  Date ofImposition ofJudgment




                                                                  SignatttreofJudge

                                                                  LARRY R.HICK S
                                                                  U .S.DISTRICT JU DGE
                                                                  Nam eand Title ofJudge
                                                                          4fz./od;
                                                                  Date
             Case 3:08-cr-00017-LRH-RAM           Document 104         Filed 06/02/09     Page 2 of 6
AO 2458 (Rev.09/08)JudgmentinaCriminalCase
         Sbeet2-Imprisonment
DEFENDANT:               GERARDO A.CRUZ-CA STRO                                                Judgm ent-Page 2
CASE NUM BER:            3:08-cr-17-LRH(RAM )
                                                IM PR ISO N M EN T

         The defendantishereby connm itted to thecustody ofthe United StatesBureau ofPrisonsto beim prisoned fora
total term of:COLW T 1;ONE H IJNDRED TW EN TY f120)M ON THS;COU NT 2:ONE HLTNDRED TW EN TY (120)
M ONTH S.CONCURREN T W ITH COUN T 1




(J') ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
        Incarceration FCIcapable oftreating defendantforsickle cellanem ia.




        Thedefendantisremanded to thecustody ofthe United StatesM arshal.

        The defendantshallsurrenderto theUnited StatesM arshalforthisdistrict:
        ()       at             a.m./p.m.on
        ()       asnotifiedbytheUnited StatesM arshal.
        The defendantshallsurrenderforsenice ofsentence atthe institution designated by theBureau ofPrisons:
        ()       before2p.m.on
        ()       asnotifiedbytheUnited StatesMarshal.
        ()       asnotifiedbytheProbation ofPretrialSenricesOffice.
                                                    R ETU RN

1haveexecutedthisjudgmentasfollows:




        D efendantdelivered on                               to
at                                                                         ,withacertitied copyofthisjudgment.

                                                             UNITED STATES M ARSH AL

                                                             BY :
                                                                      D eputy United StatesM arshal
              Case 3:08-cr-00017-LRH-RAM                     Document 104             Filed 06/02/09           Page 3 of 6
AO 2458 (Rev09/08)Judgmentin aCri
                                m inalCase
         Shed 3-Supervised Releasc
DEFENDAN T:                GERARDO A.CRUZ-CASTRO                                                                  Judgm ent-Page 3
CASE NUM BER:              3:08-cr-17-LRH(RAM )
                                                    SU PER V ISED R ELEA SE
        Upon release from imprisonm ent,the defendantshallbeon supenrised releaseforaterm ofFIV E (5)YEARS

       Thedefendantmustreportto theprobation oftice in the districtto which thedefendantisreleased within 72
hottrsofrelease from the custody oftheBureau ofPrisons.

The defendantshallnotconunitanotherfederal,state,orlocalcrim e.
The defendantshallnotunlawfully possessa controlled aubstance. The defendantshallrefrain from any unlaw fuluse of
acontrolled substance. The defendantshallsubmitto onedrug testwithin 15 daysofreleasefrom imprisomnentand at
Ieasttw o periodic drug teststhereafter,notto exceed 104 dnzg testsannually. Revocation ismandatol'y ferrefusalto
comply.
         Theabove drug testing condition issuspended,based on thecourt'sdeternlination thatthe defendantposesdl()w
         risk offuturesubstanceabuse.(Check,ifapplicable.
                                                        )
         T'
          hedefendantshallnotpossessa firearm ,anzmunitien,destractive device,c)rany otherdangerous weapon.
         (Check,ifapplicable.)
 (Z)     Thedefendantshallcooperatein thecollectionofDNA asdirectedby theprobation offeer.(Check,if
         applicable.)
         Thedefendantshallcornply withtherequirementsoftheSex OffenderRegistration andNotifieationAct(42
         U.S.C.j 16901,c/seq.)Asdirectedby theprobation ofticer,theBlzreauofPrisons,orany statesex offender
         registration agency in which he orsheresides,works,isa st-
                                                                  udent,orwasconvicted ofaqualifying offense.
          (Check,ifapplicable.)
          Thedefendantshaliparticipateinan approvedprogram fordomesticviolence.(Check,ifapplicable.)
        lfthisjudgmentimposesafineorarestitution,itisaconditionofsupenised releasethatthedefendantpay in
 accordancewith theScheduleofPaymentssheetofthisjudgment.
         The defendantm ustcomply with the standard conditionsthathavebeen adopted by thiscourtaswellaswith any
 additionaleonditionson the attached page.
                                      STAND            CO NDITION S OF SIJPERVN O N
          thedefendantshallnotleavethejudicialdistrictwithoutthepenuissionoftbecoun orprobationofficer'
                                                                                                      .
          thedefendantshallreportto theprobation officerandshallsubmitatruthfuland compiete written reportwithinthciirstfivedaysofeach
          month;
          thedefendantshallanswertruthfully a1linquiriesbytheprobation ofticerand follow theinstructionsoftheprobation ofiicer'
 3)       thedefendantshallsupporthisorherdependantsandmeetotherfamilyrespcmsibilities'
 4)       the defendantshallworkregularly atalawfuloccupation unlessexcused bytheprobation officerforschooling,training,orother
 5)
          ahcece
          t    pt
               defaebnd
                      lear
                         eas
                         nt ons
                           shall'notify theprobation officeratleastten dayspl
                                                                            iorto any changeinresidenceoremployment,    '
  6)      thedefendantshallrefrain from exeessiveuse ofalcoholand shallnotpurchase possess,use,distributeoradministerany controlled
  7)      substanceorany paraphernaliarelated to anycontrolledsubstances exceptasprcscribed by aphysician'
          thedefendantshallnotfrequentplaceswherecontrolled substancesare illegally sold used distributed oradministered'
  8)      thedefendan!shallnotassociatewith any personsengaged in cri       m inalactivity and shallnotassociatewith anyperson convicted ofa
  9)
          feiony,unlessgranted permission to do so by the probation officer'
           thedefendantshallpermitaprobation officertovisithim orheratany timeathom eorelsewhcreandshallpermitcont            iscation ofany
           contraband observed inplain view oftheprobation officer'
           thedefendantshallnotifytheprobation officerwithin seventy-two hoursofbtingarrestedorquestioned bya1aw enforcementofficer'
           thederendan!shallnotenterintoaDyagreementto ac:asan informerora specialagentofalaw enforcementagency withoutthe
           permission ofthecourt'and
           asdirectedby theprobationofficer thedetkndantshallnotifythird partiesofrisksthatmay beoccasionedby thedefendant'scriminal
           record orpersonalhistory orcharactmisties and shallpenuittheprobation ofticerto makesuch notificationsand to contirm the
           defendant'scompliancewith such notification requirement.
           Case 3:08-cr-00017-LRH-RAM           Document 104        Filed 06/02/09     Page 4 of 6
AO 2458 (Rev.09/08)JudjmentinaCri  minalCase
         Sheet3-Supervlsed Reiease
DEFENDANT:                GERARDO A .CRUZ-CASTRO                                          Judgm ent-Page 4
CASE NUM BER:        3:08-cr-17-LRH(RAM )
                                 SPECIAL CO NDITIONS OF SUPERVISION

       Possession ofW eapon -The defendantshallnotpossess,have underhis/hercontrol,orhaveaccessto any
       t'
        ireanuoexplosive device,orotherdangerousw eapons,asdefined by federal,state orlocallaw .

       W arrantle
               -
                 ssSearch -The defendantshallsubmithis/herperson,property,residence,placeofbusinessand
          -
       vehicleunderhis/hereontrolto a search,conductedby theU nited Statesprobation oftk erorarty authorized
       person tmderthe imnnediate and personalsupervision oftheprobation oftk er,atareasonable tim eand in a
       reasonablem armer,based upon reasonable suspicion ofcontraband orevidence ofaviolation ofacondition of
       supervision.Failure to submitto a search mny be groundsforrevocation. The defendantshallinfonn any other
       residentsthatthepremisesmaybesubjecttoasearchptlrsuanttothiscondition.
       D enialofFederalBenefitsforDruz Traffickers-'
                                                   I'hedefendantshallbe ineligibie foral1federalbenefitsfora
       periodofFIVE (5)YEARS.
       lmm ieration Compliance -lfdefendantisdeported,heshallnotreenterthe United Stateswithoutlegal
       authorization.IfdefendarltdoesreentertheUnited States,with orwithoutlegalauthorization,he shallreportin
       person to the probation officein the distrietofreentry within 72 hours.
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AO 2458 (Rev09/08)JudgmentinaCriminalCase
         Sheet5-CriminalMonem Penalties
DEFENDAN T:              GERARDO A.CRU Z-CA STRO                                                Judgment-Page 5
CASE NUMBER:             3:08-cr-17-LRH(RAM )
                                       C R IM IN AL M O N ETA RY PEN ALT IE S
        Thedefendantmustpay thetotalcrim inalm onetaly penaltiesurlderthe schedule ofpaym entson Sheet6.

                                  Assessm ent                     Fine                        Restitution

        Totals:                   $200.00                         SW AIVED                    $N/A
                                  Due mzd payable imm ediately.
        On motion by the Government,IT IS ORDERED thatthe specialassessm entim posed by the Couztisrernitted.

        The detennination ofrestitution isdeferred tmtil                     . An Am ended Judm entin aCrim inalCase
        (AO 245C)wiilbeentered aftersuch determination.
        Thedefendantshallmnkerestitution(including communityrestitution)tothefollowingpayeesintheamount
         listed below.
        Ifthedefendantm akesa partialpayrm ent,eaeh payee shallreceive an approxim ately propoztioned paym ent,
tmlessspeciiied othem iseinthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto 18U.S.C.j
3664(1),a11nonfederalvictimsmustbepaidbeforetheUnited Statesispaid.
Nam e ofPavee                               TotalLoss             Restitution Ordered          Pzioritv ofPercentaze

Clerk,U .S.DistrictCourt
Attn:FinancialOfiicer
Case No.
333 LasVegasBoulevard,South
LasVegas,NV 89101

TOTALS                                      $                     $


 kestitutionamountorderedpursuanttopleaagreement:$
 Thedefendantmustpayintereston restitution anda f'
                                                 ineofmorethan$2,500,unlesstherestitutionorfineispaid infull
 beforethetifteenthday aherthedateofjudgment,pursuantto 18U.S.C.j3612(9.Allofthepaymentoptionson Sheet6
 rnaybesubjecttopenahiesfordelinquencyanddefault,pursuantto18U.S.C.j36l2(g).
 Thecourtdetennined thatthe defendantdoesnothavethe ability to pay interestand itisordered that:

         theinterestrequirem entiswaived forthe:         )fine ( )restitution.
         theinterestrequirementforthe: ( )fme            )restitutionismoditiedasfollows:




 *Findingsforthe totalam otmtoflossesarerequiredunderChapters109A,110,1l0A,and 113A ofTitle l8 foroffenses
 comrnitted on orafterSeptember13,1994 butbeforeApril23,1996.
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AO 2458 (Rev09/08)-JudgmentinaCriminalCase
         Sheet7-DenialofFedoralBenefits
D EFENDAN T:              GERARDO A .CRUZ-CASTRO                                                Judgm ent-Page 6
CASE NO.:                 3:08-cr-17-LRH(RAM )
                                          D EM A L O F FED ER AL BEN EFITS
                                (ForOffensesCommittedOnorAfterNovember18,1988)
FOR DRUG TRAFFICKER PURSUANT TO 21U.S.C.j862
        IT IS ORDERED thatthedefendantshallbe:

(J') ineligibiefora11federalbenefitsforaperiod ofFIVE (5)YEARS
( ) ineligibleforthefollowingfederalbenefhsforaperiod of                  (specifybenetittsl)

                                                          OR
()       Havingdeterminedthatthisisthedefendant'sthirdorsubsequentconvictionfordistributionofcontrolled
         substances,IT IS ORDERED thatthedefendantshallbepennanentiy ineligiblefora11federalbenetits.

FOR DRUG POSSESSORSPURSUANT TO 21U.S.C.j862(b)
         IT IS ORDERED thatthe defendantshall:

         be ineligible foral1federalbenefitsforaperiod of
         beineligibleforthefollow ing federalbenefhsforaperiod of
         (specifyrbenefittsl)
         successfully com pletea drug testing and treatm entprogram .
         perform cornmunity service,asspecified in theprobation and supervisedreleaseportionofthisjudgnent.
         IS FURTHER ORDERED thatthe defendantshallcom plete any drug treatm entprogram and community service
 speciiledintltisjudgmentasarequirementforthereinstatementofeligibilityforfederalbenetits.
         Pursuantto21U.S.C.j862(d),thisdenialoffederalbenefitsdoesnotincludeanyretirement,welfare,
 SocialSecurity,health disability,veteransbenefit,publichousing,orothersim ilar benefit,or any otherbenefit
 forw hich paym entsorservicesare required foreligibility. The clerk isresponsible for sending a copy ofthispage
 and thefirstpageofthisjudgmentto:
         U.S.Departm entofJustice,Office ofJusticeProgram s,W asbington,DC 20531.
